         Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 1 of 9



                   IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                              *
U.S. MERIT SYSTEMS PROTECTION
BOARD,                        *

     Petitioner,                      *

             v.                       *       CIVIL NO.: WDQ-07-1936

MELODY MCENTEE,                       *

     Respondent.                      *

*    *       *       *    *      *    *       *   *     *    *    *      *

                               MEMORANDUM OPINION

     The U.S. Merit System Protection Board (the “Board”)

subpoenaed testimony and documents from Melody McEntee about a

meeting she attended on September 6, 2006 with Dennis W. Rader, a

Security Specialist with the Defense Security Service (the

“DSS”).1     McEntee filed a motion to quash the subpoena, which was

denied by the Board.          The Board also dismissed McEntee’s motion

for reconsideration and referred the case to the Office of the

General Counsel, which filed suit to enforce the subpoena.

     Pending are McEntee’s motion to dismiss the petition to

enforce the subpoena, and the Board’s motion to seal Exhibit 21

of its supplemental appendix.         For the following reasons,

McEntee’s motion to dismiss and the Board’s motion to seal

Exhibit 21 will be denied.



     1
         An agency of the Department of Defense (the “DOD”).

                                          1
         Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 2 of 9



I.   Background

     On September 6, 2006, Rader attended a breakfast meeting

with Congressman C.A. “Dutch” Ruppersberger, McEntee

(Ruppersberger’s Director of Government, Business, and Community

Relations), and Joseph F. Toher, Jr. (the registered agent for

Cornerstone Engineering Associates).         At the meeting, Rader

revealed a DSS proposal to improve the personnel security

investigation process within the DOD.2

     The DSS found Rader’s handling of the DOD information to be

improper and proposed a reduction in his grade.3           Rader argued

that he had not realized that Congressman Ruppersberger would

attend McEntee’s meeting.        On December 13, 2006, DOD sent Rader a

notice of its decision to reduce his grade and imposed a 14-day

suspension.     On January 23, 2007, Rader appealed DOD’s decison to

the Board.

     On February 20, 2007, DSS requested a deposition subpoena

for testimony and documents from McEntee concerning the September


     2
        The plan was a draft and had not been presented to the
DOD executives whose approval would be required to implement the
plan.
     3
       DSS charged Rader with violations of: standards of conduct
by (1) providing nonpublic and pre-decision information, to a
person who did not work for the federal government; (2) meeting
with Toher, without authorization, to discuss nonpublic and pre-
decisional official government matters; and (3) holding an
unauthorized discussion with a member of Congress concerning
official matters with significant public affairs implications,
without prior approval. See Board’s Compl. Mem. at 3.


                                      2
          Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 3 of 9



6, 2006 meeting.4       The Board issued the subpoena on February 23,

2007, and on March 13, 2007, McEntee moved to quash it, arguing

that the information sought was privileged under the Speech and

Debate Clause of the Constitution.          See U.S. Const. art. I, § 6,

cl. 1.      On April 16, 2007, the Board denied McEntee’s motion and

ordered her to comply with the subpoena.5           DSS filed motions to

enforce the subpoena on April 17 and 19, 2007, and on April 20,

2007, the Board denied McEntee’s motion to reconsider denial of

her motion to quash.        On April 24, 2007, the Board dismiss

McEntee’s appeal without prejudice and referred the case to its

Office of the General Counsel to file suit for an order to

enforce the subpoena.

II.   Analysis

      A.      Motion to Dismiss Subpoena

      1.      Standard of Review

      The Board has the authority under 5 U.S.C. § 1204(b)(2)(A)

to issue a subpoena requiring the attendance and testimony of any


      4
       DSS claims that McEntee’s deposition testimony is
necessary to determine whether Rader knew that McEntee and
Congressman Rupperberger planned to attend the meeting. Board’s
Compl. Mem. at 12.
      5
       McEntee was ordered to comply with the subpoena subject to
the clarifications that: (1) any documents produced need disclose
only “information relating to the arrangements for and logistics
of the September 6, 2006 meeting”; and (2) deposition questioning
is to be limited to “the arrangements for and logistics of the
meeting, and shall not inquire into the intended or actual
substance of any discussions at the meeting.” See Pet’rs App.,
76-78.

                                       3
         Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 4 of 9



individual or the production of documents or other evidence.             5

C.F.R. § 1201.81(a) (2006).        The request must demonstrate that

the evidence sought is relevant and that the scope of the request

is reasonable.      Id. § 1201.81(c).       If the subpoenaed person

refuses to comply, the Board may ask a district court to enforce

the subpoena.      Id. § 1201.85(a).       The court must enforce the

administrative subpoena “if the investigation is within the

authority of the agency, the demand is not too indefinite or

burdensome, and the information sought is reasonably relevant.”

United States v. Morton Salt Co., 338 U.S. 632, 652 (1950);

E.E.O.C. v. Ocean City Police Dep’t, 787 F.2d 955, 957 (4th Cir.

1986).

     2.      Speech and Debate Clause

     McEntee contends that the Board’s subpoena should not be

enforced because the information sought is protected by the

Speech and Debate Clause of the Constitution.           The Board counters

that the testimony it seeks merely concerns pre-meeting

communications, which it argues is not protected.

         The Speech and Debate Clause states that “for any Speech or

Debate in either House, [the Senators and Representatives] shall

not be questioned in any other Place.”          U.S. Const. art. I, § 6.

This provision was designed to preserve legislative independence

and insure that Congress had “wide freedom of speech, debate, and

deliberation without intimidation or threats from the Executive


                                       4
        Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 5 of 9



Branch.”    Gravel v. United States, 408 U.S. 606, 616, 617 (1972);

see also United States v. Brewster, 408 U.S. 501, 508 (1972).

Its primary purpose is to protect Members of Congress and

congressional aides from inquiry that threatens the legislative

process.    Gravel, 408 U.S. at 616-17.

       Although the Clause has been read “broadly to effectuate its

purposes,” United States v. Johnson, 383 U.S. 169, 180 (1966), it

has limits.    Doe v. McMillan, 412 U.S. 306, 313 (1973).         The

Court has been careful not to extend the privilege to include all

things related to the legislative process.         Brewster, 408 U.S. at

516.   It protects only those legislative acts “generally done in

Congress in relation to the business before it.”          Id. at 516.

Matters other than actual speech and debate in either House “must

be an integral part of the deliberative and communicative

processes by which Members participate in committee or House

proceedings,” before they receive protection under the Clause.

Gravel, 408 U.S. at 616.      Thus, not all Member’s or aide’s

regular duties are protected legislative activity.           Doe, 412 U.S.

at 313.

       Relying on Gravel and Johnson, McEntee contends that

preparations for specific activities--including meetings--are

protected by the Speech and Debate Clause.         McEntee argues that

an information-gathering meeting, like the one that took place on

September 6, entails advance preparation, and thus compelled


                                     5
        Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 6 of 9



inquiry about such preparations could reveal protected

information.

       McEntee’s reliance on Gravel and Johnson is misplaced.           In

Gravel, the Court held that a Senator’s aide had no privilege

against questioning by a grand jury about whether private

publication of classified government documents violated federal

law.   408 U.S. at 606.     The Court also held that the grand jury

could inquire about the alleged arrangement between the Senator

and private publisher as long as it was not a legislative act,

but that it was not entitled to question the aide concerning

preparation for a subcommittee hearing.         Id. at 627-29.

       In Johnson, a former U.S. Congressman was convicted of

conspiracy and violating the federal conflict of interest

statute.    383 U.S. at 170.     The Fourth Circuit vacated the

conspiracy conviction, holding that the charge that Johnson had

conspired to make a speech for compensation on the floor of the

House of Representatives was barred by the Speech and Debate

Clause.    Id.   The Supreme Court affirmed, holding that a

prosecution dependent on inquiries as to motives underlying the

making of a speech by the Congressman contravenes the Speech or

Debate Clause of the Constitution.        Id. at 185.

       The preparatory information sought in Gravel and Johnson was

quite different from what the Board seeks in this case.           The

testimony sought in Gravel and Johnson was directly related to


                                     6
      Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 7 of 9



the performance of a legislative act, i.e., preparing a

Congressman’s speech and preparations for a subcommittee hearing.

Moreover, those cases dealt with a Congressman’s immunity from

criminal prosecution for certain acts done before Congress, which

implicates a different privilege than that asserted by McEntee.

Although the information the Board seeks relates to McEntee’s

preparations for the meeting, the inquiry involves solely

administrative acts, i.e., meeting arrangements and logistics.

DSS is not inquiring into McEntee’s substantive preparations for

the meeting or the details of any discussions, as the Board has

recognized that such information may be protected by the Speech

and Debate Clause.    However, meeting arrangements are only

“casually or incidentally related to legislative affairs” and are

not part of the legislative process itself.       Brewster, 408 U.S.

at 528.   Accordingly, McEntee’s motion to dismiss will be denied.

     B.    Motion to Seal Exhibit 21

     The Board seeks to seal Exhibit 21, which consists of 25

pages of Toher’s deposition testimony.       There is a well-

established common law right to inspect and copy judicial records

and documents.   See Nixon v. Warner Commc’ns Inc., 435 U.S. 589,

597 (1978).   If the public’s right of access is outweighed by

competing interests, however, the court may, in its discretion,

seal those documents from the public’s view.        In re Knight Publ’g

Co., 743 F.2d 231, 235 (4th Cir. 1984).


                                   7
         Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 8 of 9



     The Board claims that the document should be sealed because

it contains information about Toher’s business activities and

public disclosure could interfere with his rights under the

Privacy Act.6     The Board also asserts that information about

Toher, who is not a party to this litigation, has potential

sensitivity.      McEntee counters that the motion should be denied

because the Board has not satisfied the requirements of Local

Rule 105.11 because it has failed to specify why such information

should be sealed.

     Local Rule 105.11 provides:

             Any motion seeking the sealing of pleadings, motions,
             exhibits or other papers to be filed in the Court
             record shall include (a) proposed reasons supported by
             specific factual representations to justify the sealing
             and (b) an explanation why alternatives to sealing
             would not provide sufficient protections.

     The Board has not satisfied the requirements of Local Rule

105.11.     The Board’s only justification for sealing the document

is that “[it] has potential sensitivity” and “could interfere

with Mr. Toher’s personal privacy rights.”          These justifications

are neither specific nor factual.         Moreover, the Board does not

indicate why alternatives to sealing would not provide sufficient

protections.      Since the Board has failed to comply with Local

Rule 105.11, its motion to seal will be denied.           The Board will

have 15 days to renew its motion with a memorandum that complies


     6
         5 U.S.C. § 552a (2004).

                                      8
         Case 1:07-cv-01936-WDQ Document 15 Filed 12/13/07 Page 9 of 9



with Rule 105.11.7

III. Conclusion

     For the above stated reasons, McEntee’s motion to dismiss

and the Board’s motion to seal will be denied.



December 13, 2007                                  /s/
Date                                      William D. Quarles, Jr.
                                          United States District Judge




     7
       McEntee also argues that disclosure is permissible under
the Privacy Act. As the Board has failed to satisfy the
requirements of Local Rule 105.11, an analysis under the Privacy
Act is unnecessary.

                                      9
